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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

___________________________________
JUAN MALDONADO,                     )             CIVIL ACTION NO.
     Plaintiff                      )             3:14-CV-01579-VAB
                                    )
v.                                  )
                                    )
LVNV FUNDING, LLC, EXPERIAN         )
INFORMATION SOLUTIONS, INC., AND )
EQUIFAX INFORMATION SERVICES LLC )
     Defendants                     )
__________________________________ )              FEBRUARY 4, 2015

                                NOTICE OF SETTLEMENT

       The Plaintiff hereby notifies the Court that he has reached an agreement with the

other parties to this action and will be filing a Notice of Dismissal with Prejudice once

the parties' agreements have been reduced to writing. Plaintiff seeks a period of 30-

days in which to file the notice of dismissal.



                                       PLAINTIFF, JUAN MALDONADO


                                       By: /s/ Daniel S. Blinn
                                          Daniel S. Blinn (ct02188)
                                          Consumer Law Group, LLC
                                          35 Cold Spring Road, Suite 512
                                          Rocky Hill, Connecticut 06067
                                          Tel (860) 571-0408
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                                          dblinn@consumerlawgroup.com
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                                CERTIFICATE OF SERVICE


       I hereby certify that on this 4th day of February, 2015, a copy of foregoing
Notice of Settlement was filed electronically and served by mail on anyone
unable to accept electronic filing. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF System.




                                                   /s/ Daniel S. Blinn
                                                   Daniel S. Blinn




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